






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-13-00022-CV






In re Charles Hamilton, Jr.






ORIGINAL PROCEEDING FROM TRAVIS COUNTY




M E M O R A N D U M   O P I N I O N



		Relator, Charles Hamilton, Jr., an inmate in the Texas Department of Criminal
Justice, filed a pro se petition for writ of mandamus in this Court.  See Tex. Gov't Code Ann.
§&nbsp;22.221 (West 2004); see also Tex. R. App. P. 52.1.  In his petition, Hamilton asks us to issue a writ
of mandamus directed to the Travis County District Clerk.

		This Court's mandamus jurisdiction, governed by section 22.221 of the Texas
Government Code, is expressly limited to:  (1) writs against a district court judge or county court
judge in this Court's district, and (2) all writs necessary to enforce our jurisdiction.  See Tex. Gov't
Code Ann. § 22.221.  Thus, we have no jurisdiction to issue a writ of mandamus against a district
clerk unless necessary to enforce our jurisdiction.  See id.; In re Washington, 7 S.W.3d 181, 182
(Tex. App.--Houston [1st Dist.] 1999, orig. proceeding).  Hamilton has not demonstrated that the
exercise of our writ power is necessary to enforce our jurisdiction.  We therefore have no jurisdiction
to grant Hamilton the relief he seeks.

		Accordingly, the petition is dismissed for want of jurisdiction.




						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Goodwin and Field

Filed:   January 23, 2013


